Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 1 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 2 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 3 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 4 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 5 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 6 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 7 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 8 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 9 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 10 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 11 of 12
Case 6:15-bk-21939-MH   Doc 15 Filed 01/17/23 Entered 01/17/23 15:02:38   Desc
                        Main Document    Page 12 of 12
